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                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

In re Midnight Madness Distilling LLC,                    CHAPTER 7
                                    Debtor
                                                          Adv. No. 23-00047-pmm


BONNIE B. FINKEL
In her capacity as Chapter 7 Trustee
For Midnight Madness Distilling LLC

                                    Plaintiff
              v.

CASEY PARZYCH, et al.

                                    Defendants

                               NOTICE OF APPEARANCE

       Kindly enter the appearance of Joseph R. Heffern, Esquire on behalf of Defendant, Can

Man LLC, in the above-referenced matter.



                                                          Respectfully submitted,

Dated: February 19, 2025                                         ROGERS COUNSEL



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